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                                  Review of Conditions of Confinement
                              Bridge City Center for Youth at West Feliciana
                                         Patrick McCarthy, Ph.D.

Introduction

The purpose of this report is to provide opinions on whether the State of Louisiana and its Office of
Juvenile Justice (OJJ) are providing minimally acceptable conditions of confinement at the Bridge City
Center for Youth at West Feliciana (BCCY-WF), which is located on the grounds of the adult Louisiana
State Prison in Angola in a building designed as death row. This report will consider environmental
safety, security procedures and practices, rehabilitative treatment, social services, mental health care,
education, recreation and access to family contact.

This report will also respond to concerns and issues raised in the course of the September 2022 hearing
on Plaintiff's motion for a preliminary injunction as well as in the Court's decision in that matter. These
include:

    •   The Court's request to be clear about distinctions among "best practices", "common practices"
        and "minimally acceptable" practices.

    •   Whether Plaintiffs' concerns raised prior to the transfer of youth were adequately addressed
        once the transfer of youth began; more specifically, in each section, the report will review the
        Court's findings about the stated plans of the State which were part of the basis for denying the
        Plaintiff's motion for a preliminary injunction. The report will offer opinions on the extent to
        which those stated plans were implemented. This portion of the report is relevant to the Court's
        assessment of the reliability and feasibility of implementing any recent or planned attempts at
        corrective actions that the State may offer going forward.


    •   The report will include a summary of the risks of serious and irreparable harm stemming from
        the conditions at BCCY-WF

    •   The report will address issues to be considered by the Court relevant to balancing the interests
        of the transferred youth, the interests of the other youth in the care and custody of OJJ, the
        interests of OJJ officials to design and implement rehabilitation programs without undue Court
        involvement in operational issues and the interest of the public to be safe from juvenile crime.

Methods
I reviewed the following materials in preparing this report:

        Documents listed in Exhibit A to this report
        Transcript of Sept. 2022 Preliminary Injunction hearing
        Tour of OJJ Angola facility on August 11, 2023




                                                                                                    DEFENDANT’S
                                                                                                      EXHIBIT
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In addition, I reviewed literature on minimally acceptable standards of care, including conditions of
confinement that risk serious and irreparable harm to incarcerated children as well as the required,
common and best practices to avoid those risks. That review included court decisions and consent
agreements that refer to minimally acceptable standards of care and custody. The purpose of that
review was not to draw any legal conclusion, as I am not an attorney and making a legal argument is
beyond the scope of this report. Rather, the purpose of reviewing those decisions and consent decrees
was to contribute to an overall perspective on "minimally acceptable" vs. "best practice" standards, as
requested by the Court.

Summary of Conditions of Confinement for Youth Held at BCCY-WF

Physical Environment
Vincent Schiraldi, expert witness for the Plaintiffs for the September 2022 hearing, toured the BCCY-WF
facility in early September and provided a summary of the existing deficiencies of the facility. At the
hearing, his findings were challenged based on OJJ's plans to address those deficiencies before youth
would be moved.

Based on his tour, Mr. Schiraldi identified deficiencies in the spaces which were to be dedicated to cell
tiers, education, recreation, medical care and programming. His findings are summarized below:

        The section of Angola where the State intends to incarcerate youth in OJJ custody—Louisiana's
        former death row—was designed with purely adults in mind and is reflective of a highly adult
        correctional model that will not work successfully with juveniles. The following description is
        based in large part on my personal observations at Angola on September 1, 2022.

        The unit has rows of barred cells that are centrally controlled, no indoor recreational areas,
        inadequate outdoor recreational facilities for growing young bodies, jerry-rigged classrooms, no
        medical facilities, an overall correctional environment, and is, of course, situated inside one of
        the nation's largest and most notorious adult maximum-security prisons. It will not rehabilitate
        young people and is likely to cement in their budding self-images the destructive identities of
        "inmate" and "prisoner," exactly the opposite of the juvenile justice system's goals, (pp 14-15)

The transcript from the September 2022 hearing as well as the findings in the Court's decision contested
many of Mr. Schiraldi's observations and findings, based largely on OJJ's plans to address those
deficiencies prior to transferring youth to BCCY-WF.

Based on my tour of BCCY-WF on August 11, 2023,1 agree with Mr. Schiraldi's expert opinion that the
physical facility of BCCY-WF was and remains grossly inappropriate and inadequate for the treatment
and rehabilitation of youth in the care and custody of the State. My observations include:

        •   As stated by Mr. Schiraldi and repeated as a Court finding, the physical building "screams
            prison". As the building was originally constructed as Death Row on the grounds of the
            Louisiana State Prison at Angola, this is hardly surprising but the immediate and long-term
            harmful impact of locking youth into that building should not be discounted: Both Mr.


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     Schiraldi and the Court concluded that confinement in the BCCY-WF facility would likely be
     psychologically harmful and traumatizing.

     In addition to longer-term effects, this physical environment will routinely trigger aggressive
     behaviors and extreme anxiety and/or depression, activating a stress response of flight or
     (more likely) fight among youth while they are at BCCY-WF.

     Young males who have suffered deep trauma and toxic stress are very likely to respond to
     triggering events with increased mental health symptoms that are often interpreted as
     defiance and noncompliance as well as with aggressive and assaultive behavior. This triggers
     a staff response of escalating physical restraint and punishment in an attempt to maintain
     control, further exacerbating the fight/flight response in a young person without the
     developmental capacity to fully control or even modulate his reaction. In short, the building
     itself contributes to triggering the very behavior that the program is ostensibly trying to help
     the young person learn to control.

     I concur with Mr. Schiraldi's expert opinion that the design of the tiers and the design of the
     cells on the tiers increase the risk of self-harm and suicide. In the earlier hearing, OJJ
     countered that staff are more able to keep eyes on any youth identified as a suicide risk;
     they also stated that staff would walk along the entire cell block every 15 minutes to check
     on all youth. When safety is a matter of life and death, relying on the diligence of fallible
     humans rather than designs that reduce if not eliminate the danger is a risky choice. Sadly,
     the history of self-harm and suicide among incarcerated youth and adults shows the dire
     consequences of taking that risk.


     During my tour of the tiers, I saw that the cells each face a blank, relatively narrow corridor.
     There is no room for staff to have desks or to provide enough space to observe more than a
     very limited number of cells at any one time. This requires staff to walk back and forth along
     the entire tier, much like someone strolling by animal cages in a zoo. This is one of the most
     dehumanizing arrangement of cells that I ever seen in a facility that houses adolescents.

     Because it was designed as Death Row, the BCCY-WF building has very limited space for the
     kinds of activities that are routinely provided to youth. As a direct result, youth are confined
     in their cells for long periods of time, not due to their behavior or needs, but rather because
     the building doesn't offer alternatives. They eat breakfast and dinner in their cells; they are
     in their cells during half of the hours assigned to education (often with only workbooks and
     no instruction from a qualified teacher); they spend hours of "free time" in their cells. As of
     last week, youth who are not on cell restriction would nevertheless routinely spend more
     than 22 hours in their cells in a 24-hour period, except for showering and if they were called
     out for 30 to 60 minutes of counseling and/or a call with family.


     Mr. Schiraldi's report cited inadequacies in the spaces to be used as classrooms. At this
     writing, there is now only one functional classroom, which means the two tiers rotate to
     have a half-day in the classroom with the other half-day of education consisting of


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      workbooks in their cells.

      I asked to see the two classrooms that were "destroyed" by youth. My observations and the
      photos I took indicate relatively little damage: cameras and the associated wiring were
      pulled out and some ceiling tiles were damaged. I note this not to diminish the seriousness
      of the behavior, but rather to question why the two classrooms haven't been repaired after
      at least a month and possibly two months. A competent handyman with no special skills
      could repair the ceilings in both classrooms within no more than a couple of hours and an
      electrician could reinstall the cameras within roughly the same timeframe.

      The youth are required to receive education in their cells for at least half of the total time
      devoted to education, reportedly because the classrooms as unusable. This is simply not
      true. I can only speculate that confining the students to their cells greatly reduces the
      workload and stress of frontline staff, and so there is little inclination to fix the two
      classrooms. In any event, the failure to repair this relatively minor damage results in placing
      youth in solitary confinement, an environment completely unsuitable for education.


  •   Mr. Schiraldi identified the lack of adequate outdoor recreation space; the State responded
      with plans to create a half-court for basketball. I was shown the outdoor recreation space
      during my tour. It is divided into three sections, separated by fencing, and it now does
      include one half-court basketball court. The other two areas have basketball hoops, but no
      court; youth could shoot baskets but not play a game.


  •   Based on depositions and a tour, the indoor recreation space is woefully limited. As there is
      only one space, only one tier at a time can use it. The programming for the space is basically
      TV and videogames, with occasional card or other table games.

  •   Both Mr. Schiraldi's report and my own tour of the building find that the dining area is
      adequate; however, as noted above, it is only used for lunch. All other meals are provided to
      youth while they are locked in their cells.

  Environmental Safety:
  Dr. Vassallo provided a report and a supplemental report that comprehensively cover issues
  involving the risks and considerations regarding excessive heat, t refer the Court to those
  reports.

  Air conditioning equipment may of course fail to operate properly on occasion. Given the
  extreme risks described by Dr. Vassallo, however, minimally acceptable standards require
  emergency measures to immediately restore proper operation of the air conditioning
  equipment and/or to provide alternative means of ensuring the safety of the young people i
  the care and custody of the state. Failure to take immediate action exposes young people to
  serious and potentially irreparable harm, including serious illness and death.

  Security Procedures and Practices:


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  Dr. Haney provided the Court with a comprehensive summary of the research on the risks
  associated with the use of solitary confinement for children and youth. The summary of his
  findings and opinion includes:

          It is my opinion that the practices of OJJ regarding conditions of confinement for
          children in the Angola Unit, as described in the declarations that I read, clearly
          constitute the kind of harsh and depriving conditions of isolated confinement that
          are detrimental to all persons subjected to them. As such, all incarcerated youth
          who are subjected to these isolated conditions are at significant risk of serious
          psychological harm under current practice and conditions. The significant risk of harm
          that isolation represents for incarcerated persons in general, its heightened risk of harm
          for juveniles, and the even greater risk it poses for juveniles who are mentally ill can
          only be addressed by implementing policies that eliminate the practice for youth
          altogether. Defendants should not be locking youth alone in their cells for 72 hours at
          intake, or for hours or days on end for disciplinary reasons (including group punishment)
          or for staff convenience (or due to staff shortages or holidays); nor should confinement
          occur in a locked cell under conditions where children are deprived of basic human
          needs. In the exceedingly rare instances where longer periods of separation beyond
          minutes or a few hours at most are absolutely necessary for a juvenile, in response
          to emergency situations, they should be limited to the shortest amount of additional
          time possible and even then, always under the intensive supervision and care of a
          licensed physician or psychologist.

  In his conclusion, Dr. Haney specifically warned that solitary confinement is likely to result in
  serious and irreparable harm and even death:

          Based on the allegations in the documents I reviewed, and the research summarized
          above, it is my opinion that the youth at the OJJ Angola Unit are subjected to
          inappropriate and dangerous living conditions. The practice of locking children in
          their cells for long periods of time during which they are deprived of meaningful social
          contact and purposeful activity is not only painful, but places them at significant risk of
          serious harm. Given the developmental vulnerability of the children in question, the
          potential of the resulting harm and damage to become irreversible and, in the case of
          suicidal behavior, even fatal, is greatly heightened.

  Dr. Haney's report is comprehensive and extensive. I would only add that his findings,
  recommendations and conclusions are widely accepted by youth correctional leaders.
  Numerous presentations at professional conferences, published reports, standards from
  national organizations, and press coverage of investigations, lawsuits and court decisions have
  all served to give notice to correctional administrators that the inappropriate use of solitary
  confinement violates minimally acceptable standards of care and exposes youth to risks of
  serious and irreparable harm, including longterm psychological consequences, social and
  behavioral dysfunction and injury including death by suicide.



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  In addition to the inappropriate use of solitary confinement through cell restriction as
  punishment for violations of the rules, BCCY-WF uses solitary confinement as part of the
  planned "orientation" phase: youth are routinely held in solitary confinement for 48 to 72
  hours. According to depositions from multiple line staff, the daily schedule also includes periods
  of planned cell restriction that last more than 22 hours straight. To be clear, these planned
  periods of solitary confinement are not to help a youth "calm down" or even to punish a youth
  for an infraction. These extended periods of cell restriction are built into the schedule for
  everyone on the tier.

  Beyond simply asserting and demonstrating the power and control of the BCCY-WF staff over
  the newly arrived youth, it is difficult to imagine the purpose of placing a youth in immediate
  solitary confinement as soon as he arrives. Depositions from staff and the OJJ consultant who
  designed the program for BCCY-WF describe this as a way to get to understand the young
  person before he is introduced into the population. Yet OJJ has emphasized the importance and
  thoroughness of the full multi-disciplinary team staffing that precedes placement, including a
  full review of behaviors, needs and possible treatment plans. Observing a youth on cell
  restriction for 48 to 72 hours is very unlikely to yield useful additional information. Rather, it is
  very likely to exacerbate anger and a sense of injustice as well as the trauma response discussed
  above just as the youth is expected to adapt to the program.

  I believe it is important to consider this experience from the perspective of a young person
  transferred to BCCY-WF. We know staff at the sending facility recommend transfer based on an
  allegation of a serious offense or a series of serious violations. Quite reasonably, the youth will
  see his transfer as punishment, which he is likely to believe is unjust. He will be frightened,
  angry and anxious. He arrives and following processing he is placed in a cell designed for an
  adult, roughly 6x8 feet. He stays there for two or even three days before he is even allowed to
  have contact with other youth, basically staring out across a narrow corridor at a brick wall with
  a window that opens to a barren courtyard. He will hear other youth who are locked in the same
  type of cell yelling and possibly threatening staff or other youth. This is not a necessary or an
  acceptable way to introduce an adolescent into a treatment program, unless one wants to signal
  the power to punish and control the young person.

  Is "cell restriction" solitary confinement? In a FAQ (frequently asked questions) post on the OJJ
  website, officials state that solitary confinement is not used at BCCY-WF. The posted question is
  "Are youth at BCCY-WF put in solitary confinement?". The response follows:

          No. Youth temporarily assigned to the BCCY-WF transitional treatment unit are never
          placed in solitary confinement. Even when youth are assigned to their rooms following
          acts of physical violence towards their peers or staff, they are provided consistent staff
          and peer interaction. It is part of our targeted therapeutic service. All youth receive 24/7
          staff, medical, social services, and mental health interaction while participating in
          BCCYWF's four to eight-week program. State law prohibits the use of solitary
          confinement. OJJ's policies (Behavioral Intervention Policy B.2.21) are consistent with
          state law.


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  Yet the OJJ Behavioral Intervention Policy referenced in OJJ's website response includes the
  following definition of solitary confinement, which is drawn word-for-word from the Louisiana
  statute:

          Solitary Confinement - The involuntary placement of a juvenile alone in a cell, room, or
          other area, except during regularly scheduled sleeping hours. It includes but is not
          limited to any behavioral intervention, seclusion, isolation, room isolation, segregation,
          administrative segregation, or room confinement, in response to rule violations, staffing
          shortages, or for any other reason that is not an emergency response to behavior that
          poses a serious and immediate threat of physical harm to the juvenile or others
          (emphasis added).

  Again, the above definition has the same wording as Louisiana law defining solitary
  confinement. That law goes on to state the following:

          A juvenile shall not be placed in solitary confinement for the purposes of discipline,
          punishment, administrative convenience, retaliation, protective custody, suicide
          intervention, general behavior management that is not a response to a serious and
          immediate threat of physical harm to the juvenile or others, rule violations, in response
          to staffing shortages, or for any other reason that is not an emergency response to
          behavior that poses a serious and immediate threat of physical harm to the juvenile or
          others (emphasis added).

  The law also limits the amount of time youth can be held in solitary confinement to 8 hours and
  requires a number of services and supports as necessary to ensure the youth is safe and
  returned to the population and full programming as soon as possible.

  Despite the clear prohibitions in policy and law against using solitary confinement for discipline,
  punishment, rule violations and general behavior management, BCCY-WF staff and youth are
  provided with a list of infractions that will result in punishment via varying lengths of cell
  restriction, which is defined by both Louisiana law and OJJ policy as a form of solitary
  confinement. Multiple depositions confirm that line staff, supervisors and managers routinely
  use solitary confinement as discipline, punishment, administrative convenience and general
  behavior management.

  Louisiana law and OJJ policy also require rather specific services and supports for youth held in
  solitary confinement, with considerable emphasis on assessment and oversight by Qualified
  Mental Health Professionals (QMHP). In a deposition, the Regional Mental Health Director for
  Wellpath—the organization responsible for providing mental health services to youth in BCCY-
  WF—was asked a series of questions about the mental health assessments and services
  provided to youth placed in solitary confinement. As a very brief summary, he responded that
  none of the following services (required by policy and law) are provided by Wellpath, which is
  the sole source of Qualified Mental Health Professional services available at BCCY-WF:


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          The mental health providers at Wellpath are not told when a youth in placed on cell
          restriction. The Regional Director said he had "never witnessed" cell restriction,
          although it is literally a daily occurrence.

      •   Wellpath is not provided a list of youth on cell restriction and so don't even know that
          youth have been placed in cell restriction, much less why or for how long or whether the
          experience is contributing to a mental health issue.

      •   A Qualified Mental Health Professional is not consulted before a youth is placed on cell
          restriction, nor is a QMHP consulted on how long the youth should be held in their cells.

      •   The required 8-hour checks are not performed by a QMHP.

      •   There is no QMHP assessment of whether a young person should be placed in cell
          restriction because they are an immediate threat to harm themselves or someone else
          and there is no assessment of whether he can be released from cell restriction because
          he no longer poses such a threat.


      •   According to the law and OJJ policy, a youth held longer than 8 hours should be
          transported to a mental health facility for evaluation; this is never done.

      •   Unless a youth makes an explicit request to see a mental health professional or is seen
          as at risk of self-harm or suicide, the QMHP at Wellpath is almost never called to assess
          the youth.

  In a deposition of Dr. Underwood, the consultant who designed the TTU program and continues
  to provide advice on implementation, he acknowledged and even endorsed the use of cell
  restriction during the first 48 to 72 hours of admission to BCCY-WF. He also claimed the use of
  cell restriction is "not really solitary confinement" and even if it were, it would be consistent
  with the policy's (and the law's) requirement that it should only be used in response to an
  emergency. Contrary to the intended definition of emergency used in OJJ's policies (which
  reflect the specific wording of the law), Dr. Underwood stated that the transfer of a youth BCCY-
  WF was in itself an emergency, justifying solitary confinement of 48 to 72 hours. This is
  demonstrably and drastically different from the wording in OJJ policy drawn from the language
  of the law, including requirements that a QMHP be part of the decision to place a youth in
  solitary, that he be released from solitary as soon as he is no longer an imminent threat to harm
  himself or someone else, that he be seen at least hourly by a QMHP to determine if he can be
  released and that if he is held for longer than eight hours he should be transported to a mental
  health facility.

  Dr. Underwood also said the 48-to-72-hour cell restriction was a necessary element in assessing
  the youth and orienting him to the TTU program. This is completely at odds with the
  requirements of the law, OJJ's own policies and accepted practice. This period of solitary


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   confinement provides no additional information about the youth, other than how he reacts to
   solitary confinement. Any relevant information about his patterns of behavior, adjustment to
   incarceration and relationships with other youth who may be in BCCY-WF is or should be part of
   the multi-disciplinary staffing that OJJ says is provided on every youth who is considered for
   transfer.

   The Court is of course much more qualified than I am to determine if OJJ is violating the law.
   Beyond the rather critical question of whether the law is being followed, however, the policies
   and practices of solitary confinement at BCCY-WF clearly do not meet minimally acceptable
   standards of care and custody and result in strong risks of grave immediate and long term
   severe and irreparable harm to youth, harms which have been spelled out in great detail in Dr.
   Haney's report and harms which any competent youth correctional administrator should be very
   aware of.

   Rehabilitation Programming

   As noted at the September hearing and as referenced in the Court's decision at that time, there
   is no one model of rehabilitation within institutional secure custody facilities. This is an evolving
   field, and we continue to experiment and learn. The Court has been clear that a "best practice"
   or even "evidence-based" requirement is not the standard.


  Therefore, consistent with the rest of this report, my focus will be on whether BCCY-WF
  provides a "minimally acceptable" program of rehabilitation. This assessment rests on two
  rather straightforward questions:

           Does the facility provide any rehabilitation services?

           And does the approach to rehabilitation that is actually happening at the facility expose
           young people to risk of harm?

  In other words, the test is not based on what adults say about the model they'd like to see
  happen—Trust-Based Relational Intervention or Cognitive Behavioral Therapy or Dialectical
  Behavior Therapy or Normative Culture or Positive Youth Development or the TTU model or any
  other model--but rather what adults are actually providing to youth.

  To understand the intended philosophy of rehabilitation at BCCY-WF, I reviewed the Program
  Summary for BCCY-WF; a PowerPoint presentation about the model prepared by Dr. Lee
  Underwood; and a Youth Handbook developed for a different TTU. These materials were
  provided to Plaintiffs' counsel by OJJ.

  The material I reviewed describes an approach resting on well-researched and validated
  principles of rehabilitation, drawing heavily from Cognitive Behavioral Therapy. Similar
  principles underly effective interventions with youth and young adults who have committed
  very serious acts of violence and other serious crimes, such as the community-based Roca model
  and some versions of the Credible Messenger model. The material makes some reference to
  TRBI (presumably Trust-Based Relational Therapy, as described by OJJ officials at the September


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   hearing), although it is unclear from the materials if the BCCY-WF program model was designed
   to be an adaptation of TRBI.

   Unfortunately for the youth incarcerated at BCCY-WF, I see almost no evidence that any of the
   principles or practices described in the material are actually in place at BCCY-WF. Instead, many
   of the practices in place, as described by the frontline staff responsible for care, custody and
   program implementation and even by Dr. Underwood himself in his deposition violate the very
   core principles described in the model. Other core services and approaches are simply not being
   provided, according to the staff who would be expected to provide them.

   For example, the theoretical framework for the model includes the following language; I have
   commented on the BCCY-WF implementation of these principles after each.

           Practically speaking, the unit's operational philosophy adheres to the following
           principles:

               •   Structured activities should occur throughout the day rather than restrictive
                   living; (The daily schedule for BCCY-WF includes up to 22 hours of continuous
                   cell restriction from mid-day to the next morning; there are virtually no
                   structured activities offered at all)

               •   Implementation of the incentive program for weekend rewards should be
                   implemented; (There was apparently an incentive program providing points to
                   obtain snacks etc; no interviewee referenced weekend rewards)

               •   Rigorous program schedule should be adhered to decrease boredom; (Again,
                   youth spend hours and hours in their cells; recreation time is usually
                   completely unstructured; I could find little evidence of any schedule for
                   rehabilitative programming.)

               •   Appropriate staffing should be maintained at all times to implement the
                   program's objectives; (BCCY-WF does not appear to have staff available on an
                   ongoing basis with the skills to implement this program; as described by
                   frontline staff and teachers, they have received little or no training in the
                   program model; although Trust-Based Relational Intervention—TRBI—is listed
                   as an important element of the program model, no one in the building from
                   the director to the deputy director to the counselor to the Juvenile Justice
                   Specialists have ever even heard of the term, according to their depositions)

               •   Arts and crafts activities should be provided to improve leisure activities
                   (plaster, puzzles, etc); (Puzzles and board games may be available, but no arts
                   or crafts)

               •   An area will be provided within range of the social service staff and used as a
                   tool to allow the youth to separate themselves in times when they are unable to
                   manage emotions. Youth will have options to engage in self-soothing activities
                   so that conversation can follow about the stressors and ways to prevent them in


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                   the future. This is in line with TBRI practices. (Youth who are "unable to
                   manage emotions" are placed in cell restriction for 24 to 72 hours)

               •   Whenever possible, TTU staff should be dedicated to the program and receive
                   specialized training appropriate to TTU operations. (Based on depositions, no
                   frontline staff at any level have received training in TBRI or the TTU model as
                   described)

   Under Environmental Structure, the TTU Program Summary states:

           Because of the potential violence posed by this population, the TTU is considered a
           "self-contained" unit. However, the purpose of the program is behavioral change;
           therefore, youth are involved in planned activities that consider normalizing and
           developmental perspectives. Except for occasions when a youth on the unit is exhibiting
           behaviors which are dangerous, threatening or disruptive to the milieu, youth should be
           restricted to their rooms solely during night-time hours. (As part of the regular
           schedule—not as discipline or a planned behavioral intervention - youth are
           restricted to their rooms for breakfast, portions of their school day, and the rest of the
           day after school and recreation, including for dinnertime and into the evening hours.)

   The Program Summary also describes specific practices and approaches, such as a Behavioral
   Analysis Worksheet, a "life story" autobiography and milieu therapy. A list of behavioral
   techniques is supplied as well. Depositions with frontline staff show no evidence of any training
   in any of these approaches and no evidence that they are ever used at BCCY-WF.

   The Program Summary includes a rather compelling albeit brief summary of the importance of
   family interventions, yet this section provides no guidance about or description of a family
   engagement program or approach.

   In contrast to the TTU program model described in the materials I reviewed, depositions from
   the line staff who implement the daily schedule indicate an almost complete lack of any
   scheduled rehabilitation programming other than (possibly) 30-60 minutes of weekly undefined
   "counseling", time with the social worker and possibly some mental health care for youth with a
   diagnosis indicating serious mental illness. The TTU program description calls for weekly
   sessions with the social worker and youth with a diagnosis of "severely mentally ill" (SMI) see a
   mental health professional twice per month through Wellpath, I'm not aware of any evidence
   showing that the individual sessions are integrated into an overall individualized behavior
   management and rehabilitation plan for each youth. The depositions from the line staff who
   would be critical to carrying out that plan demonstrate little to no familiarity with the individual
   needs of the youth or with effective strategies for engaging with them.

   In her testimony at the September hearing, Ms. Bridgewater stated plans were in place to
   implement the Trust-Based Relational Intervention (TRBI) as an added and more intensive
   intervention that would be available to the youth at BCCY-WF. The Court decision referenced
   these plans as a finding that provided support for allowing the transfer of youth to BCCY-WF. As
   noted above, none of the BCCY-WF managers or staff even recognized the term.




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   The depositions suggest that the only consistent approach to rehabilitation at BCCY-WF is based
   on punitive consequences—cell restriction of 24 to 72 hours—for behavioral or other violations.
   As described in OJJ's own Program Summary for BCCY-WF, this approach is antithetical to true
   rehabilitation programming, especially in lieu of any other effort to provide effective services. As
   detailed in Dr. Haney's report, cell restriction is more likely to lead to increased aggression and
   mental turmoil rather than less. Rather than learning to deal with conflict or frustration and
   learning how to manage anger, enforced cell restriction teaches youth that force and power are
   the keys to control rather than learning positive coping skills.

   There appears to be no evidence of even rudimentary training of line staff in delivering a
   rehabilitative program or environment and no evidence of training for line staff in how to
   engage youth with significant histories of trauma and toxic stress or how to effectively de-
   escalate conflict and early signs of violence. In fact, JJS depositions imply that most of them
   believe de-escalation simply means moving youth to their cells and locking them down.

   Testimony and depositions indicate policy and practices that encourage the widespread belief
   that youth held at BCCY-WF can never receive group counseling, but rather should only receive
   individual counseling. As described in the BCCY-WF Program Summary, youth learn to deal with
   conflict and harm through opportunities to work through their issues with other youth in a safe
   space. I can find no discussion or evidence of attempts to resolve issues between youth. I
   understand the reluctance to provide open group discussion is due to concerns about violence
   between youth. Yet there is apparently no attempt to encourage conflict resolution and
   personal accountability through dialogue between youth, even if that requires limiting the
   dialogue to pairs and even if a face to face conversation requires a cell door or other protection
   in place. In short, the facility misses every opportunity to help youth learn from and be
   accountable for incidents of harmful behaviors.

   A review of the current schedule confirms the lack of focused rehabilitation. From the
   depositions provided by line staff, the two tiers alternate schedules daily, i.e., the B tier
   schedule for Day One becomes the C tier schedule on Day 2 and vice versa. For example:

               ■    Wake-up 7:00
               ■    Breakfast in cell
               •    Classroom 7:50
               ■    Lunch 10:30
               ■    Rec 11-12:15
               •    Workbook in cell from 12:30 to 3:00
               ■    Dinner in cell
               ■    Cell from 12:30 to 10:30 the next day except for shower


   Based on depositions from the staff who manage the schedule and are responsible for moving
   youth through the day, a narrative version of the above schedule follows:

       Each youth wakes up at 7:00 for hygiene and has breakfast in his cell. They are then
       escorted to classroom at 7:50 where they work on Edgeunity via Chromebook and/or
       workbooks with some guidance by either teacher or staff on how to use Edgenuity. Until
       very recently, teacher instruction included very little content other than the Edgeunity


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       curriculum and workbooks. After about 2.5 hours of workbook and/or Chromebook work,
       youth go to lunch at 10:30 followed by 75 minutes of outside Rec. They are then returned to
       the tier around 12:30 for in-cell workbook assignments until about 3:00. After workbook
       time, they remain in their cells until dinner time and then they eat dinner in their cells. They
       are let out for a shower or for sessions with social work or mental health staff, to call home
       or for medical visits. But from 12:30 PM to 11:00 AM the next day—more than 22 hours—
       each youth is confined to his cell for most of the time.


   Juvenile justice systems have made great strides over the last 25 years in implementing more
   effective rehabilitative treatment approaches. These include significant changes in the culture
   and practices within residential programs, including secure institutions. As an example, at one
   time Louisiana adopted the principles and practices of the "Missouri Model" and had some
   initial success in improving several of the State's facilities. Other systems have relied on similar
   reforms, such as "positive youth development", "positive youth justice", "normative culture"
   and the kind of CBT-based models described in the BCCY-WF Program Summary. Over time,
   these types of changes in facility culture and milieu have moved from "best practices" of a few
   and now approach "common practice" for many jurisdictions.

   Given the ongoing evolution of the field of practice, no one or group of these milieu-based
   interventions are seen as required or minimally acceptable treatment. Nevertheless, the failure
   to take any discernible steps to address culture and practices throughout the facility interferes
   with and can defeat other efforts at rehabilitation. Punitive and/or control-oriented culture and
   practices lead inexorably to heightened tension, stress and acting out, including increased risk of
   violence between youth and between youth and staff. Facilities that fail to prevent and respond
   effectively to violence in the facility do not meet acceptable standards for protecting young
   people in their care and custody and also defeat attempts to provide effective treatment to
   address those problems. Sadly, OJJ's attempts to prevent and respond to violence through harsh
   punishment and control have the exact opposite effect: more rather than less anger, frustration,
   anxiety, stress and violence.

   These kind of overly simplistic control and punish approaches to adolescent behavior problems
   have been tried repeatedly over the years. They seem to make sense: teach an adolescent that
   there are consequences for bad behavior and he will learn to stop behaving badly. But this is an
   adult frame that ignores the developing nature of the adolescent brain generally and the
   developing adolescent who has endured toxic stress and trauma for years. The adult may see a
   consequence as reasonable, necessary and fair. The adolescent often sees just another example
   of adults hurting him, giving up on him, treating him unfairly and abusing power.

   This is why programs such as Scared Straight, which enjoyed popularity as a common sense
   response to behavior problems, have been shown again and again to worsen rather than
   improve outcomes: Youth randomly assigned to Scared Straight were more likely to recidivate,
   more likely to hurt someone and less likely to complete education than youth in the control
   group who did not experience Scared Straight. Similarly, boot camps for juvenile offenders were
   seen for quite a while as a creative and effective way to use the techniques of military boot

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   camps to put young people back on the right track. Again, research that randomly assigned
   youth to boot camps found they had much worse outcomes than the control group of youth
   randomly assigned to other interventions.

   Institutions must also provide individualized rehabilitative treatment that responds to the
   individual needs of each young person. Again, the field has seen much progress in developing,
   implementing and evaluating individual, group and family-based interventions that demonstrate
   effectiveness with young people who have broken the law and committed harm, including
   serious harm, as summarized on several websites such as Blueprints for Healthy Youth
   Development.

   In addition to these facility-based interventions, decades of research have demonstrated that
   family-based treatments are among the most effective interventions for young people who have
   a history of serious delinquency, including violence, sexual offenses and substance abuse. The
   three most common and well-researched interventions for these young people—Multi-Systemic
   Therapy, Functional Family Therapy and Treatment Foster Care Oregon—all have intensive
   family engagement at the core. Thus, placing youth so far away from their families that regular,
   sustained in-person contact is essentially impossible for most families not only prevents
   connection to loved ones but also eliminates opportunities to provide an effective treatment.

   Practitioners and researchers continue to explore an increasing number of very promising
   interventions that have not yet accumulated sufficient evidence of effectiveness to be
   considered proven or evidence-based. Although secure custody institutions are not required to
   provide any one of these models that may be considered either evidence-based or promising,
   minimally acceptable standards require institutions to provide counseling and supports that
   address the social, emotional and behavioral problems of each individual young person who has
   been incarcerated and deprived of freedom for the purpose of rehabilitation.

   Witnesses for the Defendants and court filings on their behalf emphasized the centrality of
   rehabilitation as a critical element of the TTU model. Young people were to receive intensive,
   individualized interventions to address their behavioral problems, so they could be reintegrated
   into the general population as soon as possible. Trust-Based Relational Intervention (TBRI) was
   specifically described as a short-term, evidenced-based intervention that would be central to
   the 4-6 weeks of treatment at the BCCY-WF unit; this intervention was to treat the problems
   contributing to violent and other harmful behavior and prepare them to return to the general
   population. Again, in their depositions, the director, deputy director, nursing supervisor and
   supervisor of social services stated they had never heard of this program.

   Nevertheless, it may be useful to consider the theory and rationale behind the Trust-Based
   Relational Intervention (TRBI) that OJJ promised to implement at the September hearing. While
   this is only one model, it illustrates exactly how far from even minimally adequate the program
   at BCCY-WF has become.

   TRBI rests on the theory that children who have experienced "adverse childhood experiences"
   (ACEs) including neglect, abuse, trauma and loss will find it difficult to form attachments with

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   other people as they develop, which in turn will contribute to a lack of empathy and connection
   with others. TRBI requires three fundamental components to build trust and relationship: (1)
   meeting physical needs for support and nurturance and providing a sense of safety
   ("empower"); (2) healing relationships ("connect"); and (3) helping the young person learn self­
   management and coping skills ("correct"). No objective observer who tours BCCY-WF would
   conclude that youth are supported, nurtured or safe. No objective observer would believe they
   have any opportunity to form relationships that are healing. And no objective observer would
   conclude that BCCY-WF provides even a minimal level of help to learn self-management and
   other coping skills.

   If the OJJ leadership believed in September that TRBI and the TTU program model would be the
   core program for BCCY-WF, there is absolutely no evidence that they have attempted to
   implement even the most basic principles of that approach, much less a systematic
   implementation of TRBI, the TTU model or any other model of rehabilitation. From all
   appearances, OJJ's actual treatment of the young people at BCCF-WF reflects a belief that the
   threat of being sent to Angola and the use of solitary confinement as punishment for any
   infractions are effective forms of treatment. This type of punitive approach does not meet
   minimal standards of rehabilitative treatment and contributes to a risk of serious and
   irreparable harm.

   In sum, the loss of liberty inherent in secure custody institutions carries increased responsibility
   to provide not only effective but also safe rehabilitative treatment for incarcerated youth, who
   are denied their freedom to ensure they receive such treatment. Failure to provide safe,
   effective treatment violates minimally acceptable standards of practice and can contribute to
   heightened risk of serious and irreparable harm to incarcerated children.

   The Court recognized the risk of psychological harm due to the stress associated with
   incarceration at Angola on the former death row cell block. This risk is compounded by the
   failure to provide even minimal professional counseling and other rehabilitation services, the
   extraordinarily high reliance on prolonged solitary confinement in the daily schedule, the
   extraordinarily high reliance on prolonged (24-72 hours) solitary confinement as punishment
   and general behavioral management, the lack of adequate and appropriate education and the
   lack of structured recreational or any other programming.

   The combination of incarceration in a grossly inappropriate building and the grossly substandard
   treatment and programming actually provided is highly likely to result in one of the most
   troubling harms: The young people committed to the care and custody of OJJ are very likely to
   conclude that they are irredeemably criminal and worthless. It is hard to imagine that they will
   find a path to successful adulthood or that the public will be safer upon their release back to
   their communities.




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   Social Services
   The BCCY-WF program is supposed to have both a social services supervisor and a case
   manager. As of the time of her deposition, the social services supervisor stated that she was
   performing both roles as the program has not been able to hire a case manager.

   It is important to note that the social worker in the BCCY-WF model is responsible for providing
   almost all of the counseling to the youth in the program as well as their families. The Program
   Summary calls for the social worker to provide weekly counseling sessions to each youth as well
   as leading groups and responding to behavioral issues.

   The social services supervisor described herself in her deposition as "not a trained social
   worker", and said she has a bachelor's degree in business administration. In describing her role,
   she said if a youth engages in fighting or other negative behavior she tries to "find out if there is
   anything I can do to assist them with that not happening again, so try to deter the behavior".
   While this is certainly an important goal, I saw no evidence that she has had any training in the
   model described in the Program Summary, or in any basic counseling skills or approaches that
   would prepare her to help youth achieve that goal.

   In response to questions, she acknowledged that she has no training in recognizing depression
   among adolescents and has no knowledge about the impact of solitary confinement on
   adolescents. When asked to describe a youth, she provided a very superficial assessment, saying
   "(Name deleted) does not want to take responsibility for his own actions. He blames everyone
   else for his actions. That's pretty much the totality of it". The youth had just turned 15. Her
   description could be an accurate summary of the attitudes (at least at times) for at least half of
   the entire population of male 14 and 15 year old children in the country.

   She said she speaks with the families monthly to respond to any concerns; other than this basic
   case management approach, there was no description of attempts to provide actual family
   counseling as described in the Program Summary. She was unaware that families should be
   offered transportation to BCCY-WF so they could visit their children.

   While the case management component of social services may be adequately provided,
   minimally adequate counseling services for youth with the kinds of complex and difficult
   problems seen among youth at BCCY-WF requires at the very least a trained counselor with
   knowledge and skills in working with young people. This is all the more critical if the success of
   the model depends so heavily on the skills of the primary counselor, as appears to be the case in
   the model described in the BCCY-WF Program Summary.

   To be clear, it appears that the mental health services provided by Wellpath do not include
   ongoing counseling and therapy or family therapy unless a youth has been designated as
   "seriously mentally ill" (SMI). According to the deposition of the Regional Director for Mental
   Health at Wellpath, a youth designated as SMI would get two individual sessions a month. And
   for emergency intervention in the event a youth was a risk for harming someone else, the
   Regional Director said that Wellpath would be involved if the youth was "hearing voices";
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   otherwise, it would be a problem for "security" staff. He said the key question determining
   Wellpath's role is whether the behavior of concern was symptomatic of a mental illness or
   "willful behavior". If the latter, the OJJ social worker would be responsible for counseling, not
   Wellpath.

   Education:
   Children and youth incarcerated by the State do not forfeit their right to a "free and appropriate
   education". Minimally acceptable standards of confinement require facilities to provide a
   curriculum that fulfills the graduation requirements of the State and that ensures children and
   youth do not lose educational progress at this critical developmental period. Minimally
   acceptable standards also require institutions to meet all the requirements of relevant laws and
   regulations governing special education services.

   As Plaintiff's expert Dr. Joseph Brojomohun-Gagnon states in the introduction to his report:

           Incarcerated youth commonly have complicated and traumatic histories, as well as
           significant education, special education, and mental health needs. Recognition of these
           needs is necessary to ensure that students are provided adequate general education
           supports, in addition to disability-related accommodations and special education
           services for students identified with a disability under the Individuals with Disabilities
           Education Act (IDEA), Title II of the Americans with Disabilities Act (ADA), and/or Section
           504 of the Rehabilitation Act of 1973 (i.e., "Section 504").



   In his conclusion Dr. Brojomohun-Gagnon stated:

           Throughout this declaration, I have reviewed the serious deficiencies in the
           provision of education and special education at the OJJ Angola Unit. I detailed specific
           violations and harm related to several issues including a lack of, (a) access to an
           adequate number of qualified general and special education teachers, (b) access to the
           general education curriculum, (c) continuous specialized instruction, (d) appropriate
           academic and behavioral monitoring, (e) identification of students with disabilities, (f) a
           continuum of special education services, (g) positive behavioral interventions and
           supports and individualized behavioral interventions and supports, (h) socialization with
           peers, (i) related services, and (j) familial contact. I also detailed the serious harm and
           education deprivation associated with placing youth in isolation. It is likely that these
           serious failures of the education system at the facility negatively impact the plaintiffs
           and other students' education, ability to work toward and earn a high school diploma,
           and eventually to reintegrate into schools, the workforce, and community upon their
           exit from the facility.

   A recently hired teacher provided a deeply disturbing first-hand account of just how deficient
   the BCCY-WF educational program is. This witness is a former superintendent as well as a
   former Statewide Assistant Superintendent for Special Education and a former Statewide


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   Director of Programs for children with emotional and social disabilities. He is not only familiar
   with the minimally acceptable standards, but he has also had responsibility in other settings for
   implementing them. Among his observations and concerns were a lack of access to educational
   records of the youth, no information on the IEP or 504 accommodation needs of the students, a
   lack of qualified special education instructors and aides to provide an appropriate staff/student
   ratio and failure to integrate computer-based learning and direct instruction.                        *

   Based on expert testimony and deposition testimony, BCCY-WF does not meet minimally              \
   acceptable standards for educational services. Failing to provide these educational services and
   supports contributes to a risk of serious and irreparable harm to the young people incarcerated
   at BCCY-WF: they are missing opportunities to learn and achieve at a critical developmental time
   in their young lives, and the institution is reinforcing a message that they are worthless and
   hopeless at a time when they are forming and consolidating their self-image.

   Recreation:
   Mr. Schiraldi's report described the existing outdoor recreation space prior to the opening of
   BCCY-WF. At the time, it consisted of a basketball hoop with partial concrete paving. This same
   space now has a concrete half-court for basketbail; two other basketball goals are in the
   outdoor recreation area, although there is no concrete paving and so they are not useable for
   games. Depositions from some OJJ staff state that youth have occasionally used the space to
   toss a football and there have been some reported instances of organized games such as sack
   races. There is no other organized outdoor recreational activity.

   A room within the building has been designated as an indoor recreation space. Recreation in this
   space is limited to videogames, board games and watching TV. There is no adequate indoor
   space for large muscle exercise when the outdoor space cannot be used due to weather
   conditions including rain or excessive heat and humidity. Youth are essentially left on their own
   to create a recreational program with little to no guidance from staff other than security
   supervision.

   Mr. Schiraldi's report contrasted the recreational facilities at BCCY-WF with the Bridge City
   Jefferson Parish facility, based on descriptions from Glenn Holt, the former director there:

           Bridge City has an outdoor, covered, full court basketball court that also has several half
           court rims. There is an indoor gymnasium with a high school regulation-sized, full court
           basketball court, bleacher seating to allow family and staff to be spectators, and an
           electronic scoreboard. There is an outdoor field that is both marked off for flag football
           and that has a backstop for softball. There is a "boys club" that has comfortable
           furniture, cafe style dining tables, a large screen for watching movies and sporting
           events, a pool table, a popcorn machine and a snow cone maker. Mr. Holt indicated that
           they had both intramural softball and flag football that the youth participated in, as well
           as a drumline, and that on occasion, they would bring youth together from several
           facilities (e.g., the Jetson Center for Youth (now closed) and Swanson Center for Youth)
           for intra-facility flag football tournaments.



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   Mr. SchiraIdi's expert report summarized the importance of recreational programming for
   incarcerated children and youth.

           All of this enhanced programmatic and recreational space was used as a reward and
           incentive for positive youth behavior in a process called "positive youth development,"
           so that staff can build on youth's strengths rather than primarily threatening and
           punishing them for bad behavior. This is part of the Missouri Model. Louisiana's
           Missouri Model approach was dubbed by OJJ leadership "LaMod," short for the
           Louisiana Model.

   Minimally acceptable standards require facilities to minimize unstructured idle time and to
   provide a structured recreational program, including indoor and outdoor recreation, with set
   and specific guidelines for such activity. Facilities should have sufficient recreational equipment
   to provide each youth with an opportunity for large muscle exercise. It is common practice to
   employ a recreation director or similar position to plan and oversee implementation of a
   recreation plan, although many smaller programs incorporate these responsibilities into the job
   descriptions of Juvenile Justice Specialists or similar personnel.

   Failure to meet minimally acceptable standards for recreational programming contributes to the
   overall risk of failing to meet the physical, social and developmental needs of adolescents. In
   addition to the importance of exercise and recreational activity for physical development,
   recreational activities provide opportunities for socialization and teamwork. Positive
   recreational experiences can enhance self-esteem and can create a bridge between youth and
   frontline staff that enables the development of the kinds of relationships that are central to the
   rehabilitative process. Moreover, a full recreational program is critical for relieving the boredom
   and stress that can contribute to negative and aggressive behavior.

   Family Contact and Counseling:
   Engaged families who have frequent and reliable contact with their children can be a
   foundational element of successful rehabilitation. Many of the interventions with the strongest
   evidence of success with young people with behavior problems have family engagement at their
   core, including Multi-Systemic Therapy, Functional Family Therapy and Multidimensional
   Treatment Foster Care.

   Witnesses for the Defendants embraced the importance of family contact in their testimony,
   and the State emphasized their plans for ensuring that the children and youth incarcerated at
   BCCY-WF at Angola would have ample access to their families, including contact visits. As the
   former Deputy Secretary put it in testimony, "A mama has to hug her boy." OJJ officials stated
   that they would provide transportation for families to ensure they had this kind of contact.

   The actual experience of youth and their families at BCCY-WF does not fit the rhetoric offered by
   OJJ. The primary contact with families is the social services supervisor, who currently also
   functions as the case manager due to a long-term vacancy. In her deposition, she stated she was



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   unfamiliar with the option of offering transportation to families. This may explain why there
   have been so few in-person family visits—less than five, according to multiple staff depositions.

   This same social services supervisor is responsible for providing family counseling. As noted
   above, she holds a bachelor's degree in business administration and has neither training nor
   qualifying experience as a family counselor. Her own description of her role with families is to
   respond to any "concerns" they may raise. She made no mention of any attempts to engage the
   families around the care and treatment of their children, and how the families might play a
   positive role in the rehabilitation and/or reintegration process, nor did she describe any
   attempts to engage families around conflicts or challenges with their children. Her description of
   her role is consistent with a basic case manager role: communicating and facilitating basic
   procedures and processes. This is of course an important role. But the kind of family therapy or
   counseling necessary to intervene effectively with youth who have complex needs and who
   engage in very harmful behaviors requires the skills of a trained professional, skills that go far
   beyond case management.

   Conclusions

   The physical environment, inappropriate use of solitary confinement, lack of rehabilitative
   programming, limited social services and mental health services, deficient educational services
   and supports, lack of adequate recreational facilities and programming, and failure to provide
   contact with families each put youth at risk of harm.

   Clearly, the sheer number of risks increases the odds that youth will be harmed: while through
   personal resilience and plain luck an individual youth may avoid harm from one or two sources
   of risk, he will confront risks from other sources.

   Yet even beyond the combined risks from multiple deficiencies, the cumulative effects of all
   these risks goes beyond the sum of the individual risks. These types of harms reinforce each
   other and combine in ways that exacerbate the harms from each. As one example: Overreliance
   on solitary confinement increases the risk that a young person will be unable to benefit from an
   educational program, increases the risk that he will be more rather than less likely to engage in
   disruptive and/or violent behavior, increases the risk that staff will be unable to engage him in
   the kind of trusting relationship necessary to rehabilitation and renders the lack of in-person
   family contact and support all the more painful and harmful.

   The State may argue that youth who have been through the BCCY-WF TTU program have been
   successfully returned to the general population in OJJ facilities and are now complying with the
   programs there. I have not seen evidence concerning how youth transferred back to OJJ
   placements are faring. Even if one accepts that youth transferred to BCCY-WF are more
   compliant when transferred back to the general population, however, the risks of harm to youth
   cannot be ignored.




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   In the 1950's, prefrontal lobotomies were an accepted surgical procedure for people with severe
   mental illness and/or developmental disabilities who were prone to violent behavior. Although
   this barbaric procedure was effective in reducing or eliminating violent behavior and made
   patients more compliant with institutional programs, we now recognize the severe side effects
   and sheer inhumanity of the procedure.

   In my own experience working in psychiatric hospitals in the 1970's, it was not uncommon for
   children, youth and adults to receive massive doses of psychotropics so they could be more
   easily managed in overcrowded, understaffed institutions. We now know that the side effects of
   this approach had tragic lifelong physical, developmental, cognitive and social consequences.

   No one would expect the State to be permitted to force a young person to take an experimental
   drug or undergo a surgical procedure to make him more compliant with the programs in their
   juvenile correctional institutions without consideration of potential side effects. The TTU
   program as implemented at BCCY-WF puts youth at risk of a host of negative side effects, as
   detailed in this report and in the reports of experts in psychology, solitary confinement,
   education and environmental safety.

   Punitive responses to adolescent behavioral problems have been overwhelmingly rejected by
   the best available research evidence. Even if punitive approaches were considered effective,
   however, the risk of side effects is simply too high to consider these punitive approaches safe. If
   the TTU program as implemented at BCCY-WF were subjected to the kind of scrutiny and review
   associated with a drug or surgical procedure trial, it would never be approved as a safe
   intervention for adolescents. The risk of serious and irreparable side effects is simply too high.

   In summary, the BCCY-WF facility and program do not meet minimally acceptable standards of
   care, custody and rehabilitation, and the conditions and lack of services put youth at risk of
   serious and irreparable harm.

   What a ret h e alternatives?
   The Court's findings and decision in the September 2022 hearing included consideration of the
   balance of interests among the youth held at BCCY-WF at Angola who may be at risk of harm;
   the youth in other OJJ facilities who according to OJJ have been assaulted by the youth now held
   at BCCY-WF at Angola; the OJJ administrators who have the authority and responsibility to
   manage OJJ without undue judicial oversight; and the public at large who could be endangered
   should violent youth escape from one of the existing OJJ facilities with less security than BCCY-
   WF at Angola.

   In considering the balance of these various interests, the Court concluded that the
   "unacceptable" risk of harm to youth held at BCCY-WF at Angola was preferable to the
   "intolerable" risks to others if the transferred youth were to be returned to the existing OJJ
   facilities. In reaching this decision, the Court appears to have accepted two key arguments put
   forth by the Defendants: First, that the young people held at BCCY-WF at Angola are inherently
   violent and destructive and can't be managed within the existing programs at other OJJ facilities.


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   Second, that the OJJ system has no alternatives that would enable them to more effectively
   respond to the behaviors and needs of these young people.

   A brief analogy may be useful in reframing this apparent dilemma. A family home is surrounded
   by several small ponds that are stocked with fish. One morning, they discover three dead fish
   floating in one of the ponds. They wonder why these fish died but decide there was just
   something wrong with the fish. Concerned that they might contaminate the other fish, they pull
   them out and throw them away. The next day they discover 20 or more fish floating belly up in
   the pond and they realize there must be something wrong with the water in that pond. The day
   after that they see fish floating belly up in several of their ponds and realize there must be
   something wrong with the ground water feeding into all the ponds.

   OJJ originally described the problem as "10 to 15 youth" who were acting out so violently and
   destructively that OJJ was unable to manage their behavior and unable to provide an effective
   program for the rest of the youth in their care. These were analogous to the first group of fish
   discovered floating belly up in the pond: pull them out of the pond and get rid of them and the
   pond and the rest of the fish will be fine.

   However, the behaviors they were describing had been going on for several years. Since youth
   age out of the OJJ system at 18, it seems unlikely that these were the same 10-15 youth.
   Moreover, since OJJ began transferring youth to BCCY-WF at Angola, almost 100 youth have
   been transferred. There appear to be a whole lot more than 10-15 troubled fish in the OJJ
   ponds, over a much longer period of time.

   With apologies for this somewhat awkward analogy, the central point is that the problem has
   been too narrowly framed and too narrowly focused on just the young people whose behavior
   has been so dangerous and destructive. Given the high risk of serious and irreparable harm for
   the young people transferred to BCCY-WF at Angola, far beyond the risks considered in the
   Court's decision in the September 2022 hearing, continuing to rely on BCCY-WF at Angola as a
   solution, even a temporary solution, is clearly intolerable.

   Finding a solution that addresses all the legitimate interests identified by the Court in the
   September decision is by no means an easy or straightforward challenge. But surely OJJ has the
   responsibility to develop and implement a strategy that deals with all aspects of the problem,
   rather than continuing to place youth at such serious risk of harm.

   I have not had the opportunity to assess the overall OJJ system and services. But I do have more
   than 30 years of experience working with state and county public systems to improve results
   and outcomes for children and youth. As the senior vice president and then the president and
   CEO of the country's leading organization focused on reforming those systems, I had the
   opportunity and privilege to work closely with the leading national experts on every facet of
   public system reform, including juvenile justice system detention centers, secure custody
   institutions, probation, and intensive community-based alternatives to youth detention centers
   and youth prisons. As a member of the steering committee of Youth Correctional Leaders for


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   Justice, I work closely with over 70 current and former commissioners and directors of state and
   county juvenile justice systems who have demonstrated success in reforming their systems in
   ways that get better results and outcomes.

   Based on that experience, I can offer some basic hypotheses about the multiple issues that may
   be contributing to OJJ's inability to respond to these challenging youth more effectively. The
   issues that are likely relevant include:

       1.   The identified youth are indeed extraordinarily challenging and would be challenging for
            any system. As noted in Defendants' testimonies at the September hearing and in
            depositions for this hearing, these young people have often experienced multiple
            "adverse childhood experiences" (ACEs) which have been shown to be associated with
            psychological, social, cognitive and behavioral problems. They have witnessed violence
            and they have experienced violence. They have been exposed to chronic toxic stress.
            Many likely have symptoms of Post Traumatic Stress Disorder (PTSD). Most have some
            level of mental illness, and many have severe mental illness. While all adolescents are
            still in the process of developing the kinds of "executive functioning" that we associate
            with adulthood—judgment, impulse control, frustration tolerance, empathy and so on—
            these young people have extreme gaps in their development.

            And so finding effective interventions for these young people is certainly no easy
            challenge. But that's the job.

            Every system in the country has some young people who are very difficult to engage and
            serve, and who act out their many troubles in ways that cause destruction and serious
            harm to others. Systems serving youth with tough problems from New York City,
            Washington DC, Baltimore, Detroit, Chicago, Houston, St. Louis and more have had to
            find a way to respond to these youth that is supportive and rehabilitative rather than
            purely punitive. But it requires an honest and thorough assessment of not only the
            individual youth but also the entire environment and network of relationships
            surrounding that youth.

      Three interrelated factors are the most common drivers of systemic failures in secure
      custody facilities: staffing problems, overcrowding and poor programming.

       2.   Since the onset of the pandemic, many systems around the country are struggling with
            hiring and retaining qualified staff at every level. Secure custody facilities have been
            among the hardest hit. In desperation, systems too often turn to problematic solutions.

            The remaining staff are asked to work longer hours, with double and even triple shifts.
            Exhausted and stressed, they lose their ability to maintain positive relationships with the
            youth who are most difficult to manage and increasingly rely on punitive responses,
            which contributes to yet more negative behavior. Turnover and sick time increases,
            putting even more stress on the staff who show up for work, which leads to even more


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           turnover. Systems try to fill the positions by hiring under-qualified applicants to fill in,
           and because the training department staff have been pressed into filling in at the
           frontline, these under-qualified applicants receive at best perfunctory training.

      3.   The impact of the pandemic on schools and community resources—rec centers, sports
           and other activities, family support centers—has led to a predictable rise in adolescent
           behavior problems, with some cities seeing a spike in arrests for armed robberies,
           carjacking and gun-related offenses, including shootings, homicides and gun possession.
           While the hard data show that crime among young people is still much, much lower
           than historical trends, the public is concerned, and many are demanding a return to
           tougher responses. In many (although far from all) jurisdictions, commitments to secure
           custody have been increasing, reversing a 25-year trend. In many places, this has
           resulted in over-crowding, which combined with staffing shortages results in a volatile
           mix within secure custody institutions.

     4.    Lack of qualified staff and overcrowding make it extraordinarily difficult to provide the
           kind of programming necessary to help young people get back on track, thrive and be
           ready to return safely to their families and communities. A spate of serious violence and
           destruction such as reported over the last three years in OJJ facilities is almost always
           associated with a break-down in programming. The more challenging and struggling
           youth are the youth who need the most comprehensive and individualized
           programming, and so they are the youth most likely to act out anger, fear, frustration,
           boredom, anxiety and stress when programming breaks down.

           As one example of the level of programming successful facilities provide, the
           Washington DC Division of Youth Rehabilitation Services offers the following
           interventions in their secure care facility:

           Core Programs:
           • Power Source
           • Thinking for a Change
           • Trauma and Grief Component Therapy for Adolescents (TGCTA)
           • Victim Impact
           • Ready Restorative Justice (RJ) Curriculum
           • Washington Aggression Interruption Training (WAIT)
           • Houses of Healing

           Supplemental Programs:
           • Substance Abuse
           • Pathways
           • Animal Assisted Therapy
           • Horticulture
           • Independent Life Skills
           • Real Talk Lecture/Red Table Talk Program
           • Wellness Calendar Activities

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           •   Rise and Reflection Circles
           •   Restorative Justice Community Building

           Supportive Programs
           • Therapy for Adolescents
           • TGCTA (modules 2 and 3)
           • Creative Writing
           • Therapeutic Writing Module
           • Customer Service
           • Dramatic Arts
           • Digital Arts
           • Music Production
           • Yoga and Meditation
           • Barbering Training

      5.   The systems which have had the greatest success in not only implementing but
           sustaining transformative change have continued to invest in staffing, training, coaching,
           accountability, innovation, community partnerships and programming. Examples include
           Washington DC, New York, Detroit, Missouri, Illinois, Washington State, Oregon and
           others. None are perfect, all continue to have some problems, but they are all on a
           steady trajectory toward sustained improvement and success.

           Other systems may have some initial success, but the combination of leadership change,
           budget cuts and shifting philosophies gut the programs and practices that achieved the
           success. The system may keep the name and trumpet the principles associated with the
           successful approach, much as the exterior design and the ad copy may try to convince
           you that the car you once loved hasn't changed a bit with the new model. But if you
           take it for a drive or look under the hood you discover it's a far inferior version.

           Again, I have not assessed the Louisiana system. But an OpEd written by a former
           deputy secretary of OJJ in August 2022 includes a compelling summary of the kinds of
           systemic problems facing the State:

                   State Sen. Katrina Jackson was right when she said in a recent committee
                   hearing that, "the state had failed to fund the Missouri model." Even though the
                   model was not adequately funded, it was evident the model was right for youth.
                   While there were many challenges, mainly due to the same lack of staffing
                   evident today, the research in juvenile justice science supports a therapeutic
                   model over placing youth in isolation. The truth is, the therapeutic model was
                   never given a real chance to succeed.

                   One might ask what happened to the reform effort that the state had
                   embraced? At one time our judges, district attorneys and public defenders
                   worked together with the Office of Juvenile Justice to build an evidenced-based
                   system for our youth. If the years of Gov. Bobby Jindal's administration forced


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                         lean budgets and created a crisis, then what has been done in the last seven
                         years to rectify this? Was this not the perfect time to move forward in
                         developing the therapeutic model? Was there a strategic plan to continue the
                         reform efforts? While focus was rightly placed on reforming our archaic laws
                         regarding long-term adult sentences, it seems that there was little or no focus
                         making advancements in juvenile justice.

                         Staffing issues have always been the enemy of an effective treatment model in
                         secure care. Does a plan exist to address a long-term staffing solution? If so,
                         what is it? Where are the so-called voices of the "juvenile justice advocates?"
                         Why has blaming the kids and locking kids up become the main answer to
                         violence and escapes within secure care?

I hope the Court will encourage OJJ leadership to look beyond the behaviors of the young people in their
care in searching for answers. I know there are organizations that stand ready to partner with OJJ to
complete an expedited assessment and to recommend immediate steps to address systemic problems
that may be contributing to the kinds of acting out OJJ is experiencing.

The transferred youth are being exposed to the risk of serious and irreparable harm. In accepting
responsibility for the care and custody of young people, OJJ and the State of Louisiana have an
obligation to find alternative solutions that will protect all the youth in their care as well as the public.
This is not easy, but again, that's the job. Given the magnitude of the challenge, there's no shame nor
blame in looking for additional help. But continuing to pursue the failed strategy of using BCCY-WF to
punish young people who are not complying with OJJ's model will not only harm young people who are
transferred; over time, this strategy will also undermine OJJ's entire approach to rehabilitation.

Dated: August 14, 2023



         /s/
Patrick McCarthy




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Bates #             Document Title                                                 Description/Notes

                    B.2.21-Behavioral-lntervention-BI-and-Extended-BI-08-01-22     2022.08.01 YSP- Behavioral Intervention (Bl) and Extended Bl
                    ANDREAJONE5                                                    2023.08.01 Andrea Jones Depo Transcript
                    23.07.28 Doc 183 SOI of the USA                                2023.07.28 Doc. 183 -- Statement of Interest of the USA
                    Final Gagnon Dec and Exhibits                                  2023.07.17 Gagnon Dec and Exhibits
                    SBRYANT                                                        2023.08.01 Sandra Bryant Depo Transcript
                    Final V. Schiraldi Expert Report                               2022.09.02 Schiraldi Expert Report
                    09072022_22CV573_SDD                                           2022.09.07 Preliminary Injunction HearingTranscript
                    09082022_22CV573_SDD                                           2022.09.08 Preliminary Injunction HearingTranscript
                    166 Memo of Law in Support                                     2023.07.18 Doc 166 - Memo ISO Motion for PI
                    166-1 exhibit list                                             2023.07.18 Doc 166-1 Exhibit List
                    Doc 164-4- Exhibit 1                                           2023.07.17 Doc 164-4 Exhibit 1
                    Doc 164-5- Exhibit 2                                           2023.07.17 Doc 164-5 Exhibit 2
                    Doc 164-6- Exhibit 3                                           2023.07.17 Doc 164-6 Exhibit 3
                    Doc 164-7- Exhibit 4                                           2023.07.17 Doc 164-7 Exhibit 4
                    Doc 164-8- Exhibit 5                                           2023.07.17 Doc 164-8 Exhibit 5
                    Doc 164-9- Exhibit 6                                           2023.07.17 Doc 164-9 Exhbit 6
                    Doc 164-11- Exhibit 8                                          2023.07.17 Doc 164-11 Exhibit 8
                    Doc 164-14- Exhibit 11                                         2023.07.17 Doc 164-14 Exhibit 11
                    LONDON, LINDA (condensed)                                      2023.08.01 Linda London Depo Transcript (condensed)
                    LONDON, LINDA                                                  2023.08.01 Linda London Depo Transcript
                    jones, charmaine (condensed)                                   2023.08.01 Charmaine Jones Depo Transcript (condensed)
                    jones, charmaine                                               2023.08.01 Charmaine Jones Depo Transcript
                    NELSON, CURTIS (condensed)                                     2023.08.07 Curtis Nelson Depo Transcript (condensed)
                    NELSON, CURTIS                                                 2023.08.07 Curtis Nelson Depo Transcript
QJJ-006990-006992   Office of Juvenile Justice                                     2023.08.07 C. Nelson Depo Ex. 1 — OJJ Minor Tickets and Cell Restrictions
                    2023.08.08 Email from D. Utter                                 2023.08.08 Email from D. Utter re: how kids get to Angola
                    Doc 79 - PI Ruling                                             2022.09.23 Doc 79 - Preliminary Injuction Ruling
                    Devillefull                                                    2023.08.03 Shenell Deville Depo Transcript
                    DevillecondN                                                   2023.08.03 Shenell Deville Depo Transcript (condensed)
                    Deville Errata Sheet                                           2023.08.03 Shenell Deville Depo Transcript Errata Sheet
                    EDWARDS, FRANK                                                 2023.08.03 Frank Edwards Depo Transcript
                    EDWARDS, FRANK (condensed)                                     2023.08.03 Frank Edwards Depo Transcript (condensed)
                    JACKSON, LADONNA (condensed)                                   2023.08.03 LaDonna Jackson Depo Transcript (condensed)
                    JACKSON, LADONNA                                                2023.08.03 LaDonna Jackson Depo Transcript
                    0002 B.2.8 (i) Transitional Treatment Unit (TTU) Youth Handbook
OJJ-001161-001179   August 2022                                                     2022.08.00 B.2.8 (i) TTU Youth Handbook
                    0001_B.2.8 (h) Transitional Treatment Unit (TTU) Youth
OJJ-001140-001160   Handbook August 2022                                           2022.08.00 B.2.8 (h) TTU Youth Handbook

OJJ-001234-001280   0018 TTU Presentation July 2023                                2023.07.00 OJJ TTU Overview: Managing Youth Aggression - Underwood Presentation
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                                                                                           2023.06-2023.08 Dr. Lee Sick In Person Visit Log, BCCY-WF (and specific 6.14.23 List for In
OJJ-007461-007465      0344_Dr.Lee's Sick Call                                             Person Visits w Dr. Lee at 7pm)
                       23.07.31 Defendants Responses to Plfs RFPD                          2023.07.31 Defs' Responses to Pis' Pre-PI Hearing RFPs
                       TAYLOR, TAMIKA (CONDENSED)                                          2023.08.07 Tamika Taylor Depo Transcript (condensed)
                       TAYLOR, TAMIKA                                                      2023.08.07 Tamika Taylor Depo Transcript
                       PALMER, RONALD (condensed)                                          2023.08.03 Ronald Palmer Depo Transcript (condensed)
                       PALMER, RONALD                                                      2023.08.03 Ronald Palmer Depo Transcript
                       SYLVESTER, HENRY                                                    2023.08.04 Henry Sylvester Depo Transcript
                       SYLVESTER, HENRY (condensed)                                        2023.08.04 Henry Sylvester Depo Transcript (condensed)
                       McKINLEY, DAJA (condensed)                                          2023.08.03 Daja McKinley Depo Transcript (condensed)
                       MCKINLEY, DAJA                                                      2023.08.03 Daja McKinley Depo Transcript
                       Moreau, Todd (condensed)                                            2023.08.04 Todd Moreau Depo Transcript (condensed)
                       Moreau, Todd                                                        2023.08.04 Todd Moreau Depo Transcript
                       GORDON, TRAVION (condensed)                                         2023.08.03 Travion Gordon Depo Transcript (condensed)
                       GORDON, TRAVION                                                     2023.08.03 Travion Gordon Depo Transcript
                       Cooper, Patrick (condensed)                                         2023.08.03 Patrick Cooper Depo Transcript (condensed)
                       Cooper, Patrick                                                     2023.08.03 Patrick Cooper Depo Transcript
                       Exhibit 9                                                           2023.08.03 P. Cooper Depo Ex. 9 - Notice to Take Deposition of P. Cooper
OJJ-005879-005895      Exhibit 10                                                          2023.08.03 P. Cooper Depo Ex. 10 - C. Tassin IEP Docs
                       COX, BRANDY (condensed)                                             2023.08.03 Brandy Cox Depo Transcript (condensed)
                       COX, BRANDY                                                         2023.08.03 Brandy Cox Depo Transcript
                       J. Gagnon Amended Report                                            2023.08.08 J. Gagnon Amended Report
                       UNDERWOOD, PSY. D., LEE (condensed)                                 2023.08.10 Lee A. Underwood Depo Transcript (condensed)
                       UNDERWOOD, PSY. D., LEE                                             2023.08.10 Lee A. Underwood Depo Transcript
                       Cormier, Raschid (CONDENSED)                                        2023.08.07 Raschid Cormier Depo Transcript (condensed)
                       Cormier, Raschid                                                    2023.08.07 Raschid Cormier Depo Transcript
QJJ-001321-001372      0020_Photos from July 20 2023                                       2023.07.20 Photos
OJJ006990-OJJ007030    OJJ - Document Production 08.04.2023                                2023.08.04 OJJ Document Production

QJJ7007031-OJJ007466   OJJ Document Production 08.08.2023                                  2023.08.08 OJJ Document Production
OJJ006856-OJJ006989    OJJ - Document Production 08.02.2023                                2023.08.02 OJJ Document Production
QJJ-000417-000422      P 32 - 427_BCCY-WF MOU (000479-000484)                              2022.08.29 MOU Between La. DPSC-YS-OJJ and La. DCCS
                       P 71 - OJJ-000259-OJJ-000263-Memo of Understanding (001387-
QJJ-000259-000263      001391)                                                             Undated MOU Between La. DCCS and La. DPSC-YS-OJJ
                       P 39- 34_B.2.21 Behavioral Intervention (Bl) and Extended Bl 08-
000512-000523          01-22 (000512-000523)                                               2022.08.01 Youth Services Policy - Behavioral Intervention (Bl) and Extended Bl (B.2.21)
                       Doc 51 - Plaintiffs' Proposed Findings of Fact and Conclusions of
                       Law                                                                 2022.09.02 Doc. 51 - Pis' Proposed Findings of Fact and Conclusions of Law
                       Charles C. Digicourt records                                        Charles C. Digicourt Records f
011-006989             0286_SSD_RiversideWF Schedule                                       2023-2024 Riverside Alternative HS - West Feliciana
